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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 8
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                                                                       Page 1

 1                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
 2                         COLUMBIA DIVISION
 3
 4
 5         THE SOUTH CAROLINA STATE CONFERENCE OF THE NAACP,
           et al.,
 6
                          Plaintiffs,
 7
                    vs.      CASE NO.:      3:21-CV-03302-MGL-TJH-RMG
 8
           THOMAS C. ALEXANDER, et al.,
 9
                          Defendants.
10
11
12         DEPOSITION OF:      SENATOR LUKE A. RANKIN
                               (APPEARING VIA VIRTUAL ZOOM)
13
           DATE:               August 2, 2022
14
           TIME:               10:52 AM
15
           LOCATION OF
16         THE DEPONENT:       Rankin & Rankin Law Firm
                               201 Beaty Street
17                             Conway, SC
18         TAKEN BY:           Counsel for the Plaintiffs
19         REPORTED BY:        TERRI L. BRUSSEAU
                               (APPEARING VIA VIRTUAL ZOOM)
20
21
22
23
24
25

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                                                                  Page 130

 1         plan that, again, through all the vetting that it
 2         underwent before, you would not want to run away
 3         from that for the voting public and, you know,
 4         constituent consistency, effectively the -- not
 5         that just the way because you've done it the way
 6         you've done it means you can't venture beyond, but
 7         that would not be a smart move.
 8                       And, in fact, we -- there's a document
 9         you've generated, I hadn't seen it before
10         yesterday, I think, about the various plans that
11         the lead that NAACP, perhaps even Senator
12         Harpootlian's, that compare that -- the split of
13         counties and VTD's, but it wouldn't -- it wouldn't
14         make sense to upset that and undo what has been
15         effectively abided by and adopted by the courts for
16         ten years.
17                  Q.   Well, yeah, I -- I appreciate that.
18         I'm not really asking about that.              My hypothetical
19         was if a staff member told you they just ignored,
20         for example, the consideration of minimizing county
21         splits and instead maximized them, purely
22         hypothetical, I'm just asking you, would that have
23         been a red line to you?         Would you have said, no,
24         we cannot adopt that map because it overtly
25         violates a guideline?

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                                                                   Page 290

 1                          CERTIFICATE OF REPORTER
 2                  I, Terri L. Brusseau, Notary Public for the
 3         State of South Carolina at Large, do hereby certify
 4         that the foregoing transcript is a true, accurate,
 5         and complete record.
 6                  I further certify that I am neither related
 7         to nor counsel for any party to the cause pending
 8         or interested in the events thereof.
 9                  Witness my hand, I have hereunto affixed my
10         official seal this 12th day of August 2022 at
11         Charleston, Charleston County, South Carolina.
12
13
14
15
16
17                              <%21906,Signature%>
18                              _________________________________
                                Terri L. Brusseau, Court Reporter
19                              My Commission expires
                                April 5, 2026.
20
21
22
23
24
25

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 1       4 South Carolina State Conference Of The NAACP v Mcmaster Et Al

 2       Senator Luke A. Rankin (#5350995)

 3                          E R R A T A    S H E E T

 4       PAGE_____ LINE_____ CHANGE________________________

 5       __________________________________________________

 6       REASON____________________________________________

 7       PAGE_____ LINE_____ CHANGE________________________

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 9       REASON____________________________________________

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12       REASON____________________________________________

13       PAGE_____ LINE_____ CHANGE________________________

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17       __________________________________________________

18       REASON____________________________________________

19       PAGE_____ LINE_____ CHANGE________________________

20       __________________________________________________

21       REASON____________________________________________

22

23       ________________________________          _______________

24       Senator Luke A. Rankin                                      Date

25

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                                                                    Page 295

 1       4 South Carolina State Conference Of The NAACP v Mcmaster Et Al

 2       Senator Luke A. Rankin (#5350995)

 3                       ACKNOWLEDGEMENT OF DEPONENT

 4            I, Senator Luke A. Rankin, do hereby declare that I

 5       have read the foregoing transcript, I have made any

 6       corrections, additions, or changes I deemed necessary as

 7       noted above to be appended hereto, and that the same is

 8       a true, correct and complete transcript of the testimony

 9       given by me.

10

11       ______________________________        ________________

12       Senator Luke A. Rankin                              Date

13       *If notary is required

14                          SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                          ______ DAY OF ________________, 20___.

16

17

18                          __________________________

19                          NOTARY PUBLIC

20

21

22

23

24

25

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